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             EXHIBIT 21
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     (Stipulating parties listed on signature page)

 2                                 UNITED STATES DISTRICT COURT
 3                              NORTHERN DISTRICT OF CALIFORNIA
 4
                                        SAN FRANCISCO DIVISION
 5
 6
     IN RE CATHODE RAY TUBE (CRT)                     No. 07-cv-5944-SC
 7   ANTITRUST LITIGATION,                            MDL No. 1917

 8
     This Document Relates to:                        STIPULATION AND [PROPOSED]
 9                                                    ORDER REGARDING PERSONAL
     Sharp Electronics Corp., ci al. v. Hitachi       JURISDICTION OVER THOMSON SA
10   Ltd., etal.,No. 13-cv-1173;
11                                                    Judge: Hon. Samuel Conti
     Electro graph Systems, Inc. et al. v.
12   Technicolor SA, et al., No. 13-cv-.05724;

13   Siegel v. Technicolor SA, ci al., No. 13-cv-
     05 26 1;
14
     Best Buy Co., Inc., et al. v. Technicolor SA,
15
     et al., No. 13-cv-05264;
16
      Target Corp. v. Technicolor SA, et al., No.
17    13-cv- 05686;

18   Interbond Corporation ofAmerica v.
     Technicolor SA, et al., No. 13-cv-05727;
19
20   Of/Ice Depot, Inc. v. Technicolor SA, ci al.,
     No. 13-cv-05726;
21
     Costco Wholesale Corporation v.
22   Technicolor SA, et al., No. 13-cv-05723;
23
     P. C. Richard & Son Long Island
24   Corporation, et al. v. Technicolor SA, et al.,
     No. 13-cv-05725;
25
     Schultze Agency Services, LLC v.
26   Technicolor SA, Ltd., et al., No. 13-cv-
27   05668;

28   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13-cv-05262;
     STIPULATION AND [PROPOSED] ORDER RE                               No. 07-5944-SC; MDL No. 1917
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 1
     Tech Data Corp., et al. v. Hitachi, Ltd., et
 2   al., No. 13-cv-00 157;
 3
     ViewSonic Corporation v. Chunghwa
 4   Picture Tubes, Ltd., et al., No. 3:14-cv-
     025 10;
 5
     Crago, et al. v. Mitsubishi Electric Corp.,
 6   No. 14-cv-02058.
 7          Direct Action Plaintiffs Electrograph Systems, Inc.; Electrograph Technologies, Corp.;
 8   Alfred H. Siegel (as trustee of the Circuit City Stores, Inc. Liquidating Trust); Best Buy Co., Inc.;
 9   Best Buy Purchasing LLC; Best Buy Enterprise Services, Inc.; Best Buy Stores, L.P.;
10   BestBuy.com , L.L.C.; Magnolia Hi-Fi, Inc.; Interbond Corporation of America; Office Depot,
11   Inc.; Costco Wholesale Corporation; P.C. Richard & Son Long Island Corporation; ABC
12   Appliance, Inc.; MARTA Cooperative of America, Inc.; Schultze Agency Services, LLC, (on
13   behalf of Tweeter Opco, LLC, and Tweeter Newco, LLC); Sears Roebuck and Co. and Kmart
14   Corp.; and Target Corp.; Sharp Electronics Corporation and Sharp Electronics Manufacturing
15   Company of America, Inc., (collectively, "Sharp"); Tech Data Corporation and Tech Data
16   Product Management, Inc.; ViewSonic Corporation; (all collectively the "DAPs"); Crago, d/b/a
17   Dash Computers, Inc.; Arch Electronics, Inc.; Meijer, Inc.; Meijer Distribution, Inc.; Nathan
18   Muchnick, Inc.; Princeton Display Technologies, Inc.; Radio & TV Equipment, Inc.; Studio
19   Spectrum, Inc.; and Wettstein and Sons, Inc., d/b/a Wettsteins’s (collectively the "Direct
20   Purchaser Plaintiffs" or "DPPs"), and Thomson S.A. (n.k.a. Technicolor S.A.) have conferred by
21   and through their counsel and, subject to the Court’s approval, HEREBY STIPULATE AS
22   FOLLOWS:
23           WHEREAS, there is pending in the United States District Court for the Northern District
24   of California a multidistrict consolidated proceeding comprised of actions brought on behalf of
25   purported purchasers of cathode ray tubes ("CRT") and CRT products, captioned as In re:
26   Cathode Ray Tube (CRT) Antitrust Litigation, Case No. 3:07-cv-05944 SC (MDL No. 1917) (the
27   "MDL Proceedings");
28           WHEREAS, Sharp filed on March 15, 2013, a Complaint naming Thomson SA as a
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     Defendant (Dkt. No. 1, Case No. 3:13-cv-01173 SC), on October 28, 2013, a First Amended

 2   Complaint also naming Thomson SA as a Defendant (Dkt. No. 2030), and on June 13, 2014, a

 3   Second Amended Complaint also naming Thomson SA as a Defendant, now pending in this

 4 MDL (Dkt. No. 2621);

 5          WHEREAS, the DAPs have filed Complaints or Amended Complaints, which are now

 6 pending in this MDL, naming Thomson SA as a Defendant;

 7          WHEREAS, the DPPs have filed an Amended Class Action Complaint, which is now

 8   pending in this MDL, naming Thomson SA as a Defendant (Case No. 14-cv-02058, Dkt. No. 34);

 9          WHEREAS, on July 3, 2013, Thomson SA filed a Notice of Motion and Motion to

10   Dismiss Sharp’s Complaint for Lack of Personal Jurisdiction (Dkt. No. 1765);

            WHEREAS, on November 25, 2013, Thomson SA filed a Notice of Motion and Motion to

12   Dismiss Sharp’s First Amended Complaint (Dkt. No. 2235);

13          WHEREAS, on January 27, 2014, Thomson SA filed a Notice of Motion and Motion to

14   Dismiss the DAPs’ Complaints (Dkt. No. 2355);

15          WHEREAS, on February 7, 2014, Thomson SA filed a Notice of Motion and Motion to

16   Strike with Prejudice Tech Data’s First Amended Complaint (Dkt. No. 2373);

17          WHEREAS, on March 13, 2014, the Court issued an Order granting in part and denying

18   in part Thomson SA’s Motions to Dismiss Sharp’s First Amended Complaint and the DAPs’

19   Complaints or First Amended Complaints, finding that it has specific personal jurisdiction over

20 Thomson SA (Dkt. No. 2440);

21          WHEREAS, on March 28, 2014, the Court issued an Order granting in part and denying

22   in part Thomson SA’ Motion to Strike with Prejudice Tech Data’s First Amended Complaint,

23   dismissing Tech Data’s state-law claims but denying the motions with respect to its federal

24   claims, and finding that it has specific personal jurisdiction over Thomson SA (Dkt. No. 2507);

25          WHEREAS, on May 30, 2014, Thomson SA and the DPPs filed a stipulation preserving

26   any arguments for appellate purposes all motions raised in the MDL to date (Dkt. No. 2600), and

27   on June 12, 2014 the Court granted that stipulation (Dkt. No. 2616);

28          WHEREAS, on July 25, 2014, Thomson SA and ViewSonic Corporation filed a

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 1   stipulation preserving any arguments for appellate purposes all motions raised in the MDL to date

 2   (Dkt. No. 2708), and on July 30, 2014 the Court granted that stipulation (Dkt. No. 2720);

 3           WHEREAS. on December 1. 2014. in consultation with Thomson SA. the DAPs and

 4 I DPPs noticed the Fed. R. Civ. P. 30(b)(6’ denosition of Thomson SA:

 5           WHEREAS, Thomson SA has agreed that it will not contest personal jurisdiction - as it

 6   relates to the above referenced matters on appeal, in return for not having to produce documents

 7   solely related to personal jurisdiction in the United States, and not having to produce a 30(b)(6)

 8   witness to testify reaardina Tonic No. 25 in the Second Amended Notice of Denosition of

 9   Thomson SA pursuant to Fed. R. Civ. P. 30(b)(6) (whether compelled through the Hague

10   Evidence Convention in compliance with the French Blocking Statute or otherwise);

11 NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel as

12   follows:

13       1.1.        Thomson SA has appeared in this action and admits that, for purposes of this

14           action and any action in the United States or another country to collect on a judgment in

15           this action, this Court has agrees that it will not contest on appeal this Court’s admits that

16           this Court has personal jurisdiction over Thomson SA in the United States for this action

17

18       2. Thomson SA admits that. for nurnoses of this action and any action in the United States or

19           another country to collect on a judgment in this actionwith respect to this action, it had

20           sufficient minimum contacts with the United States between at least        1995 and 2007 -for it

21           to be subject to specific personal jurisdiction in the United States to be subject to per,onal

22          jurisdiction in the United States for this action and for these parties only;

23       3. Thomson SA admits. for nurnoses of this action and any action in the United States or

24           another countrY to collect on a iudciment in this action. that there is a nexus and

25           connection between this disnute and the United States for this action: and

26       4. Thomson SA further admits that, for purposes of this action and any action in the United

27           States or another country to collect on a judgment in this action, -Plaintiffs’ choice of

28           forum in the United States for this action, is appropriate and not fraudulent.

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                   DAPs and DPPs agree that they will not seek the production of documents solely

 2          related to personal jurisdiction in the United States, or testimony from Thomson SA’s

 3          30(b)(6) representative regarding Topic No. 25 in the Second Amended Notice of

 4          Deposition of Thomson SA, whether compelled through the Hague Evidence Convention

 5          in compliance with the French Blocking Statute or otherwise.

 6       2. Thomson SA admits that it had sufficient minimum contacts with the United States

 7          between at least 1995 and 2007 for it to be subject to specific personal jurisdiction in the

 8          United States;

 9       3. Thomson SA admits that there is a nexus and connection between this dispute and the

10          United States; and

11       4. Thomson SA further admits that Plaintiffs’ choice of forum in the United States is

12          appropriate and not fraudulent.

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14 PURSUANT TO STIPULATION, IT IS SO ORDERED.

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16 Dated:_____________________
                                                                       Hon. Samuel Conti
17                                                                 United States District Judge
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     STIPULATION AND [PROPOSED] ORDER RE                                     No. 07-5944-SC; MDL No. 1917
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     STIPULATION AND [PROPOSED] ORDER RE                            No, 07-5944-SC; MDL No. 1917
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21           Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
22    document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER RE                                   No. 07-5944-SC; MDL No. 1917
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